897 F.2d 530
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Johnnie STAMPS, Plaintiff-Appellant,v.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant-Appellee.
    No. 89-1647.
    United States Court of Appeals, Sixth Circuit.
    March 5, 1990.
    
      Before KEITH and KRUPANSKY, Circuit Judges, and ENGEL, Senior Circuit Judge.
      PER CURIAM.
    
    
      1
      Plaintiff-Appellant, Johnnie Stamps (Stamps), has appealed from the decision of the district court granting summary judgment in favor of the defendant-appellee, Secretary of Health and Human Services (Secretary), denying Stamps's application for disability insurance benefits.  Upon review of the claimant's assignments of error, the record in its entirety, and the briefs of the parties, this court concludes that the Secretary's denial of disability is supported by substantial evidence.
    
    
      2
      Accordingly, the summary judgment in favor of the Secretary is AFFIRMED for the reasons stated in the Magistrate's Report and Recommendation of February 28, 1989 as adopted by the district court on March 31, 1989.
    
    